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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Britanny L. Angelilli
                                     Plaintiff,
v.                                                       Case No.: 1:23−cv−02759
                                                         Honorable John J. Tharp Jr.
Summit Funding, Inc., et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 19, 2023:


        MINUTE entry before the Honorable John J. Tharp, Jr:Upon receipt of the parties'
stipulation of dismissal [57] and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), this matter is
concluded. All future dates and deadlines are stricken; all pending motions are denied as
moot. Civil case terminated. Mailed notice(air, )




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